Case 18-30264-sgj11        Doc 3      Filed 01/31/18 Entered 01/31/18 14:26:50     Desc Main
                                      Document     Page 1 of 8


Rakhee V. Patel – SBT # 00797213
Annmarie Chiarello – SBT # 24097496
WINSTEAD PC
500 Winstead Building
2728 N. Harwood Street
Dallas, Texas 75201
Phone: (214) 745-5400
Fax:     (214) 745-5390
e-mail: rpatel@winstead.com
e-mail: achiarello@winstead.com

ATTORNEYS FOR JOSHUA N. TERRY,
PETITIONING CREDITOR

                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION


IN RE:                                             §         Case No. 18-30264-7
                                                   §
ACIS CAPITAL MANAGEMENT, L.P.,                     §         Chapter 7
                                                   §
               DEBTOR.                             §
                                                   §




IN RE:                                             §         Case No. 18-30265-7
                                                   §
ACIS CAPITAL MANAGEMENT GP,                        §         Chapter 7
L.L.C.,                                            §
                                                   §
               DEBTOR.                             §

    EMERGENCY MOTION OF PETITIONING CREDITOR TO ABROGATE OR
   MODIFY 11 U.S.C. § 303(F), PROHIBIT TRANSFER OF ASSETS, AND IMPOSE,
                           INTER ALIA, 11 U.S.C. § 363

       NO HEARING WILL BE CONDUCTED HEREON UNLESS A WRITTEN
       RESPONSE IS FILED WITH THE CLERK OF THE UNITED STATES
       BANKRUPTCY COURT AT 1100 COMMERCE STREET, ROOM 1254,
       DALLAS, TEXAS 75242, BEFORE CLOSE OF BUSINESS ON
       FEBRUARY 23, 2018 WHICH IS AT LEAST 24 DAYS FROM THE DATE
       OF SERVICE HEREOF.



EMERGENCY MOTION OF PETITIONING CREDITOR TO ABROGATE                          Page 1 of 8
OR MODIFY 11 U.S.C. § 303(F), PROHIBIT TRANSFER OF ASSETS, AND
IMPOSE, INTER ALIA, 11 U.S.C. § 363
Case 18-30264-sgj11             Doc 3     Filed 01/31/18 Entered 01/31/18 14:26:50          Desc Main
                                          Document     Page 2 of 8



           ANY RESPONSE SHALL BE IN WRITING AND FILED WITH THE
           CLERK, AND A COPY SHALL BE SERVED UPON COUNSEL FOR THE
           MOVING PARTY PRIOR TO THE DATE AND TIME SET FORTH
           HEREIN. IF A RESPONSE IS FILED A HEARING MAY BE HELD WITH
           NOTICE ONLY TO THE OBJECTING PARTY.

           IF NO HEARING ON SUCH NOTICE OR MOTION IS TIMELY
           REQUESTED, THE RELIEF REQUESTED SHALL BE DEEMED TO BE
           UNOPPOSED, AND THE COURT MAY ENTER AN ORDER GRANTING
           THE RELIEF SOUGHT OR THE NOTICED ACTION MAY BE TAKEN.

           BY SEPARATE MOTION, THE MOVANT SEEKS TO HAVE THIS
           MOTION HEARD ON AN EMERGENCY BASIS. IF THE COURT
           GRANTS THE REQUESTED EMERGENCY RELIEF, THE PARTIES
           WILL BE NOTIFIED ACCORDINGLY. AN EMERGENCY HEARING
           MAY AFFECT THE RESPONSE DEADLINES SET FORTH HEREIN.

TO THE HONORABLE STACEY G.C. JERNIGAN, UNITED STATES BANKRUPTCY
JUDGE:

           Joshua N. Terry (the "Mr. Terry" or "Petitioning Creditor"), petitioning creditor in the

above-captioned cases (these "Cases"), files this Emergency Motion to Abrogate or Modify 11

U.S.C. § 303(f), Prohibit Transfer of Assets, and Impose, inter alia, 11 U.S.C § 363 (the

"Motion") and respectfully states as follows in support thereof:

                                            I.          JURISDICTION

           1.       This Court has jurisdiction to consider the relief requested in this Motion under

28 U.S.C. § 1334 and the standing order of reference from the District Court. This matter is a

core proceeding under 28 U.S.C. § 157(b)(2).                    The statutory predicates for relief IS

Section 303(f) of the Bankruptcy Code. 1




1
    11 U.S.C. §§ 101 et seq. (the "Bankruptcy Code").


EMERGENCY MOTION OF PETITIONING CREDITOR TO ABROGATE                                    Page 2 of 8
OR MODIFY 11 U.S.C. § 303(F), PROHIBIT TRANSFER OF ASSETS, AND
IMPOSE, INTER ALIA, 11 U.S.C. § 363
Case 18-30264-sgj11                 Doc 3   Filed 01/31/18 Entered 01/31/18 14:26:50                    Desc Main
                                            Document     Page 3 of 8



                              II.      SUMMARY OF RELIEF REQUESTED 2

           2.       Mr. Terry requests this Court imposes the restrictions of Section 363 of the

Bankruptcy Code to prevent the Alleged Debtors' further decimation of the Alleged Debtors'

assets. Alleged Debtor Acis Capital Management, L.P.'s ("Acis LP") actions are an affront to this

Court and are a naked attempt to denude its estate of valuable assets. Starting shortly after an $8

million Final Award was entered against it in on or about October 20, 2017 (the "Final Award"),

in favor of Mr. Terry, Acis LP, by, through or with its general partner, Acis Captial Management

GP, LLC ("Acis GP") has fraudulently transferred assets or intends to fraudulently transfer in the

very near term substantially all of Acis LP's assets to several affiliated entities for the purpose of

putting those assets outside creditors' reach. These fraudulent transfers or contemplated

fraudulent transfers, include: (1) transferring a $9.5 million promissory note payable to Acis LP

from an affiliate, Highland Capital Management, L.P. ("Highland"), to a Cayman affiliate; and

(2) transferring or the impending transfer of interests in several entities and a management

contract worth to an affiliate for no or far less than fair market value.

           3.       Based on documents produced by Acis LP to Mr. Terry pursuant to Court order

and as part of post-judgment discovery, it is clear that Acis LP is poised to fraudulently transfer

its most significant assets: management contracts worth well in excess of $30 million, again to

another Cayman affiliate. If that transfer occurs, Acis LP will have few, if any, assets.

                       III.     FACTUAL AND PROCEDURAL BACKGROUND

A.         Final Award and State Court Litigation

           4.       On October 20, 2017, a JAMS arbitration panel made up of former or retired

judges awarded Mr. Terry a Final Award in the amount of $7,949,749.15 3 against Acis LP and
2
    Certain undefined, capitalized terms appearing in the Summary of Relief Requested are defined later in the Motion.

EMERGENCY MOTION OF PETITIONING CREDITOR TO ABROGATE                                                Page 3 of 8
OR MODIFY 11 U.S.C. § 303(F), PROHIBIT TRANSFER OF ASSETS, AND
IMPOSE, INTER ALIA, 11 U.S.C. § 363
Case 18-30264-sgj11            Doc 3     Filed 01/31/18 Entered 01/31/18 14:26:50                      Desc Main
                                         Document     Page 4 of 8



Acis GP. Acis LP and Acis GP are collectively referred to herein as "Acis" or the "Alleged

Debtors."

        5.        On December 18, 2017, Final Award was reduced to a final judgment by the 44th

Judicial District Court of Dallas County, Texas and the Final Judgment was entered in Cause No.

DC-17-15244 (the "Judgment").

B.      Transfer of Note

        6.        On November 3, 2017, Acis, Highland, and Highland CLO Management Ltd.,

another Cayman entity ("Highland Cayman"), entered into the Agreement for Assignment and

Transfer of Promissory Note (the "Note Transfer"). The Note Transfer, among other things,

transferred the $9.5 million promissory note by Highland in favor of Acis (the "Note") from Acis

to Highland Cayman. Upon information and belief, Acis did not receive sufficient consideration

for the Note Transfer.

C.      Transfer of Management Agreement

        7.        Additionally, the Note Transfer also purports to initiate the transfer of

management contracts to Highland Cayman for the Collateralized Loan Obligations ("CLOs")

listed on Schedule A to a prior agreement (the "Management Contracts"). Again, Acis is to

receive no consideration for transferring its most significant assets, the Management Contracts.

D.      Contemplated Transfers

        8.        Upon information and belief, Acis did not in fact transfer the Management

Contracts pursuant to the Note Transfer. Instead, Acis intends to transfer the Management

Contracts to non-Acis Highland affiliates beginning on or before February 1, 2018 through a

3
  Pursuant to the Judgment, interest accrues on the Judgment from October 20, 2017 until such time as the Judgment
is paid in full, at an interest rate of 5% per annum. The total amount due to Mr. Terry, pursuant to the Judgment, as
of the date of date the involuntary bankruptcy, January 30, 2018, was at least $8,060,827.84.


EMERGENCY MOTION OF PETITIONING CREDITOR TO ABROGATE                                               Page 4 of 8
OR MODIFY 11 U.S.C. § 303(F), PROHIBIT TRANSFER OF ASSETS, AND
IMPOSE, INTER ALIA, 11 U.S.C. § 363
Case 18-30264-sgj11        Doc 3    Filed 01/31/18 Entered 01/31/18 14:26:50          Desc Main
                                    Document     Page 5 of 8



series of purported refinancing transactions. This transfer or purported refinancing will

effectively destroy all value from Acis.

E.     Additional Transfers

       9.      On October 24, 2017, a mere four days after the Final Award was entered, an

employee of Highland and representative of Acis, Frank Waterhouse, executed an agreement for

Acis which reflects a sale of Acis's interest in its risk retention fund, Acis Loan Funding, Ltd.

("Acis Loan Funding"). The transfer of Acis Loan Funding is part of Acis's larger scheme to

deprive Acis of its value to the detriment of all creditors.

       10.     On October 27, 2017, James Dondero ("Dondero") signed an agreement

transferring management of Acis Loan Funding from Acis to Highland HCF Advisor Ltd., a

Cayman entity ("Highland Cayman 2") for no consideration.

       11.     On October 31, 2017 (11 days after the Panel issued the Final Award), Dondero

caused a filing in the Registry of the island nation of Guernsey. In that filing, Acis Loan

Funding was renamed "Highland CLO Funding, Ltd."

       12.     On December 19, 2017, Acis transferred over $5 million of additional assets to

Highland CLO Holdings, Ltd., another Cayman entity ("Highland Cayman 3"), purportedly in

exchange for forgiveness of a receivable.

       13.     Also on December 19, 2017, the partners of Acis transferred their partnership

interest to yet another Cayman entity, Neutra, Ltd. ("Highland Cayman 4").

F.     Bankruptcy Filings

       14.     On January 30, 2018 (the "Acis LP Petition Date"), Terry, as petitioning creditor

filed the Involuntary Petition Against a Non-Individual [Case No. 18-30264-7, Docket No. 1]

(the "Acis LP Petition") in the Acis LP bankruptcy case.

EMERGENCY MOTION OF PETITIONING CREDITOR TO ABROGATE                              Page 5 of 8
OR MODIFY 11 U.S.C. § 303(F), PROHIBIT TRANSFER OF ASSETS, AND
IMPOSE, INTER ALIA, 11 U.S.C. § 363
Case 18-30264-sgj11         Doc 3    Filed 01/31/18 Entered 01/31/18 14:26:50             Desc Main
                                     Document     Page 6 of 8



        15.     On January 31, 2018 (the "Acis GP Petition Date"), Terry, as petitioning creditor

filed the Involuntary Petition Against a Non-Individual [Case No. 18-30265-7, Docket No. 1]

(the "Acis GP Petition") in the Acis GP bankruptcy case.

        16.     As of the date of this filing, Acis LP and Acis GP have not responded to the Acis

LP Petition and Acis GP Petition. Upon information and belief, Acis has retained Michael

Warner to represent Acis in connection with these Cases.

                                  IV.     GROUNDS FOR RELIEF

        17.     As succinctly set forth in the legislative history and comments to Section 303(f),

Congress intended that although Section 303(f) "permits the debtor to continue to operate any

business of the debtor and to dispose of property the same as if the case had not been

commenced … [t]he court is permitted . . . to control the debtor's powers under this subsection

by appropriate orders, such as where there is a fear that the debtor may attempt to abscond with

assets, dispose of them at less than their fair value, or dismantle his business, all to the detriment

of the debtor's creditors." HR Rep No. 595, 95th Cong, 1st Sess 323 (1977); S Rep No. 989, 95th

Cong, 2d Sess 33 (1978).

        18.     Utilizing Section 303(f) of the Bankruptcy Code, courts have imposed restrictions

on an involuntary gap debtor's operations to preserve and protect assets; especially where there is

concern that a debtor may dispose of assets for less than fair value or dismantle a business for the

private gain of its principals. In re Wilson, 62 B.R. 43, 46 (E.D. Tenn. 1985) (determining that

section 303(f) authorizes a stay of business transactions during gap period that may jeopardize

the rights and interests of creditors).




EMERGENCY MOTION OF PETITIONING CREDITOR TO ABROGATE                                  Page 6 of 8
OR MODIFY 11 U.S.C. § 303(F), PROHIBIT TRANSFER OF ASSETS, AND
IMPOSE, INTER ALIA, 11 U.S.C. § 363
Case 18-30264-sgj11        Doc 3    Filed 01/31/18 Entered 01/31/18 14:26:50               Desc Main
                                    Document     Page 7 of 8



       19.     Indeed, a sister court in this district has abrogated Section 303(f) and imposed

Section 363's requirements upon an alleged debtor based on the facts and circumstances of the

case. In re Tex. Rangers Baseball Partners, 434 B.R. 393, 404-05 (Bankr. N.D. Tex. 2010)

(Lynn, J.).

                                      VI.     CONCLUSION

       20.     This matter cries out for the Court to invoke its authority to order compliance

with, inter alia, Section 363 of the Bankruptcy Code. As stated above, the Alleged Debtors

herein are unabashedly attempting to abscond with assets, dispose of valuable assets at less than

their fair value, and dismantle their business to the great detriment of their single largest creditor,

Mr. Terry. Therefore, the Court must enter an order to prevent additional fraudulent transfers to

offshore or non-Debtor entities.

                                          VII.   PRAYER

       Mr. Terry respectfully requests this Court to: (i) grant the relief requested in this Motion;

(ii) enter the proposed Order attached as Exhibit "A" to this Motion; and (iii) grant Mr. Terry

such other and further relief to which it may be justly entitled, both at law and in equity

DATED: January 31, 2018.

                                                       Respectfully submitted,

                                                       WINSTEAD PC
                                                       500 Winstead Building
                                                       2728 N. Harwood Street
                                                       Dallas, Texas 75201
                                                       (214) 745-5400 (Phone)
                                                       (214) 745-5390 (Facsimile)
                                                       e-mail: rpatel@winstead.com
                                                       e-mail: sbdavis@winstead.com

                                                       By: /s/ Rakhee V. Patel
                                                           Rakhee V. Patel – SBT # 00797213

EMERGENCY MOTION OF PETITIONING CREDITOR TO ABROGATE                                   Page 7 of 8
OR MODIFY 11 U.S.C. § 303(F), PROHIBIT TRANSFER OF ASSETS, AND
IMPOSE, INTER ALIA, 11 U.S.C. § 363
Case 18-30264-sgj11       Doc 3    Filed 01/31/18 Entered 01/31/18 14:26:50            Desc Main
                                   Document     Page 8 of 8



                                                         Annmarie Chiarello – SBT # 24097496

                                                     ATTORNEYS FOR JOSHUA N. TERRY,
                                                     PETITIONING CREDITOR


                                CERTIFICATE OF SERVICE

        The undersigned certifies that on January 31, 2018, a true and correct copy of the
foregoing Motion will be electronically mailed to the parties that are registered or otherwise
entitled to receive electronic notices in this case pursuant to the Electronic Filing Procedures in
this District. The undersigned certifies that on January 31, 2018, a true and correct copy of the
foregoing Motion will be sent to Michael Warner, counsel for the Alleged Debtors.



                                                     /s/ Annmarie Chiarello
                                                     One of Counsel




EMERGENCY MOTION OF PETITIONING CREDITOR TO ABROGATE                               Page 8 of 8
OR MODIFY 11 U.S.C. § 303(F), PROHIBIT TRANSFER OF ASSETS, AND
IMPOSE, INTER ALIA, 11 U.S.C. § 363
